      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 1 of 19




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF NEW HAMPSHIRE


UNITED STATES OF AMERICA                        )

               V.                               )                   No.l;20-cr-\SE~fb'~^\
                                                )
GEORGE KUBPER                                   )


                                     PT.EA AGREEMENT


       Pursuantto Rules 11(c)(1)(C)ofthe Federal Rules of Criminal Procedure,the United

States ofAmerica by its attorney, Scott W.Murray, United States Attorney for the District of

New Hampshire, and the defendant, George Kuiper, and the defendant's attorneys. Colleen

Savage,Esquire, and Tony Sgro,Esquire, enter into the following Plea Agreement:

        1. The Plea and the Offense.

       The defendant agrees to waive his right to have this matter presented to a grand jury and

plead guilty to an Information charging him with: in Count One,conspiracy to distribute

unapproved drugs in interstate commerce and to smuggle goods into the United States in

violation ofTitle 18,United States Code, Section 371 and 545, and Title 21,United States Code,

Sections 331(d)& 333(a)(2); in Count Two,distributing unapproved drugs in interstate

commerce in violation ofTitle 21, United States Code, Sections 331(d)& 333(a)(2); and Count

Three,smuggling goods into the United States in violation of Title 18, United States Code,

Section 545. In exchange for the defendant's guilty plea,the United States agrees to the

sentencing stipulations identified in Section 6 ofthis agreement.

       2. The Statutes and Elements ofthe Offenses.

       Count One:



                                              -1-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 2 of 19




       Title 18, United States Code,Section 371 provides, in pertinent part,"[i]ftwo or more

persons conspire ... to commit any offense against the United States ... and one or more ofsuch

persons do any act to effect the object ofthe conspiracy, each shall be fined under this title or

imprisoned not more than five years, or both." The defendant understands that the offense has

the following elements, each ofwhich the United States would be required to prove beyond a

reasonable doubt at trial:

       First, that the agreement specified in the information, and not some other agreement or
       agreements, existed between two or more people to introduce into interstate commerce
       unapproved new drugs, in violation of21 U.S.C. §§ 331(d)& 333(a)(2), or to smuggle
       goods into the United States, in violation of 18 U.S.C.§ 545;

       Second,that the defendant knew the unlawful purpose ofthe plan and willfullyjoined in
       it; and

       Third, that one ofthe conspirators committed an overt act during the period ofthe
       conspiracy in an effort to further the purposes ofthe conspiracy.

Pattern Criminal Jury Instructionsfor the District Courts ofthe First Circuit, District ofMaine
Internet She Edition, 2019 Revisions, Instruction 4.18.371(1).
http://www.med.uscourts.gov/Ddfi^crDiilinks.pdf

       Count Two:


       Title 21,United States Code,Section 331(d), provides, in pertinent part,"[t]he

introduction or delivery for introduction into interstate commerce ofany[new drug not approved

by the FDA]"is prohibited. Title 21, United States Code,Section 333(a)(2) provides, in relevant

part,"if any person ... commits such a violation with the intent to defraud or mislead, such

person shall be imprisoned for not more than three years ... ." The defendant understands that

the elements ofthe offense ofthe introduction of an unapproved new dmg into interstate

commerce are:



       First, that the defendant introduced a product into interstate commerce;

                                                -2-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 3 of 19




       Second, that the product was a drug within the meaning of21 U.S.C. § 321(g)(1) because
       it was intended to cure, mitigate, treat, or prevent a disease or was intended to affect the
       structure or function ofthe body of man;

       Third,that the drug was a new drug within the meaning of21 U.S.C. § 321(p) because it
       was not generally recognized among qualified experts as safe and effective for the uses
       prescribed, recommended,or suggested on the labeling ofthe drug;

       Fourth,that the drug was not approved by the United States Food and Drug
       Administration(21 U.S.C. §§ 331(d), 355(a)); and

       Fifth,that the defendant acted with intent to defraud or mislead(21 U.S.C.§ 333(a)(2)).

       Count Three:


       Title 18,United States Code,Section 545 makes it a crime for any person to fraudulently

or knowingly import or bring into the United States any merchandise contrary to law. The

defendant understands that the elements ofthe offense are:

       First, that the defendant imported or brought into the United States any merchandise
       (specifically, controlled substances or unapproved new drugs);

       Second, that the importation ofthe merchandise was contrary to law; and

       Third, that the defendant knew the importation was contrary to law.


       3. Offense Conduct.


       The defendant stipulates and agrees that ifthis case proceeded to trial, the government

would introduce evidence ofthe following facts, which would prove the elements ofthe offenses

beyond a reasonable doubt:

       From at least as early as 2006,and until June 2020,the defendant operated an internet

pharmacy which he managed from his residence in Lawrenceville, Georgia. Althou^ the
websites he used changed over the years,the nature of his business did not Defendant operated


                                               -3-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 4 of 19




the website nubrain.com until February 2015, when the registration for the website was revoked
after FDA notified Web.com,the domain name registrar, that the website was selling products in

violation of21 U.S.C.§ 331. Defendant immediately re-established his operations on a new

website, healthclown.com. On his websites, nubrain.com and healthclown.com,the defendant
sold over 100 products including prescription drugs and controlled substances. The defendant's
best-selling product was modafinil,a Schedule IV controlled substance and prescription new
drug. The version of modafinil the defendant sold was not approved by the FDA.None ofthe
defendant's websites were ever registered with the DBA to distribute, or handle in the course of

being distributed, controlled substances.

       On at least the following occasions from 2009 to 2020,Food and Drug Administration

Office ofCriminal Investigations("FDA-OCF')agents conducted controlled purchases of

unapproved modafmil(and sometimes other prescription drugs)from the defendant's websites;
 DATE                             WEBSITE


 April 29,2009                    Nubrain.com


 June 25,2009                     Nubrain.com


 October 9,2009                   Nubrain.com


 May 9,2012                       Nubram.com


 November 4,2013                  Nubrain.com


 November 11,2016                 Healthclown.com


 September 12,2019                Healthclown.com


 April 9,2020                      Healthclown.com




                                               ■4-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 5 of 19




The purchases never required a prescription, no medical questionnaire was administered, and no
consultation with a medical practitioner ever occurred. On most occasions, the drugs were either

received directly from shippers in foreign countries or had packaging Indicating that they were
manufactured in foreign countries. On each occasion, the drugs were sent to FDA-OCI agents in

New Hampshire.

       For example,on or about April 9,2020,agents accessed Healthciovra.com and ordered

120 200mg Modalert tablets, among other products. Modalert is a product that contains

modafinil and is not approved by the FDA.No prescription or medical questionnaire was

required, and no consultation with a medical practitioner occurred prior to or after placing the
order. Agents paid with a postal money order which was sent to Nubrain at a P.O.Box in

Grayson, Georgia. The money order was signed and cashed by the defendant.

       On or about April 15,2020, agents received an email from the defendant informing them

that the oixler would ship withm 2-3 weeks. On that same date agents responded to the email and
stated "2-3 weeks for shipping? You've never taken this long in the past." Shortly after sending

the email agents receive a response from the defendant stating,"ALL ORDERS ARRIVE FROM
OVERSEAS the suppliers have shut down for the past month we will keep you updated." On

May 15,2020, agents received another email saying,"as soon as shipper resumes we will let you
know the problem is the flights leaving INDIA beyond control ofsupplier we are looking at
another option." Agents eventually received the modafinil in packaging that read,"Manufactured
by sun pharma laboratories, ltd, Kamrup." Kararup is a location in India.
       Investigators executed search warrants for email accounts used by the defendant which

made clear that he controlled all aspects of his online pharmacy business. He regularly


                                               -5-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 6 of 19




communicated with customers,and drug suppliers in India, Australia, and the United Kingdom

among other countries. Various emails from customers indicate that drugs were regularly seized
by customs, or other law enforcement agencies. In response to one email,the defendant
responded,"about 5% of orders are seized we will replace the product fi-om Atlanta as soon as

we receive product." On March 24,2020,a different customer emailed the defendant saying,
"well it's official I got a notification from customs that I need to register witii the DBA or they're

going to destroy the products." The defendant responded,"please discard die letter. Will replace
next week."The emails also made clear that the defendant employed others, including his family

members,to operate his business.

        Investigators also executed a search warrant on a server which hosted the defendant's

websites. One database file maintained on the server listed drug sales totaling approximately

$2.6 million for the time period 2006 through 2012. Ofthe $2.6 million in sales, almost $1.2
million were for sales of Modaflnil. A second database file, entitled "Nubrain New," listed

approximately $1.2 million in sales from 2012 through 2015,including sales from both the
Nubrain.com and Healthclown.com websites. Ofthe $1.2 million in sales, approximately

$875,000 were for sales of Modaflnil.

        On June 24,2020, agents executed a search warrant at the defendant's residence and

interviewed the defendant. The defendant admitted that he operated the websites and that he

knew it was illegal to sell modaflnil without a prescription. He also admitted to shipping

modaflnil to customers directly from overseas suppliers.

        4. Penalties. Special Assessment and Restitution.

        The defendant understands that the penalties for the offense charged in Count One ofthe


                                                 -6-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 7 of 19




Information are:

       A.     A maximum prison term offive years(18 U.S.C. § 371);

       B.     A maximum fine of$250,000, or in the alternative not more than the greater of
              twice the gross gahi or twice the gross loss(18 U.S.C, § 3571(b)(3)&(d)); and

       C.     A term ofsupervised release not more than three years(18 U.S.C. §
              3583(b)(2). The defendant understands that the defendant's failure to
              comply with any ofthe conditions ofsupervised release may result in
              revocation ofsupervised release, requiring the defendant to serve in prison
              all or part ofthe term ofsupervised release, with no credit for time already
              spent on supervised release.

       The defendant understands that the penalties for the offense charged in Count Two ofthe

Information are:


       A.     A maximum prison term of three years(21 U.S.C. § 333(a)(2));

       B.     A maximum fine of$250,000, or in the alternative not more than the greater of
              twice the gross gain or twice the gross loss(18 U.S.C. § 3571(b)(3)&(d)); and

       C.     A term ofsupervised release of not more than one year(18 U.S.C. §
              3583(b)(3)). The defendant understands that the defendant's failure to
              comply with any ofthe conditions ofsupervised release may result in
              revocation ofsupervised release, requiring the defendant to serve in prison
              all or part ofthe term ofsupervised release, with no credit for time already
              spent on supervised release.

       The defendant understands that the penalties for the offense charged in Count Three of

the Information are:

       A.     A maximum prison term oftwenty years(18 U.S.C.§ 545)

       B.     A maximum fine of$250,000, or in the alternative not more than the greater of
              twice the gross gain or twice the gross loss(18 U.S.C. § 3571(b)(3)&(d)); and

       C.     A term ofsupervised release ofnot more than five years(18 U.S.C. §
              3583(b)(1)). The defendant understands that the defendant's failure to
              comply with any ofthe conditions ofsupervised release may result in
              revocation ofsupervised release, requiring the defendant to serve in prison
              all or part ofthe tenn of supervised release, with no credit fortune already

                                              -7-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 8 of 19




                spent on supervised release

       The defendant understands that a mandatory special assessment of$300,$100 for each

count ofconviction, is due at or before the time ofsentencing(18 U.S.C.§ 3013(a)(2)(A)). In

addition to the other penalties provided by law,the Court may order him to pay restitution to the

victim(s) ofthe offense(18 U.S.C. § 3663 or § 3663A).

       5. Sentencing and Application ofthe Sentencing Guidelines.

       The defendant understands that the Sentencing Reform Act of 1984 applies in this case

and that the Court is required to consider the United States Sentencing Guidelines as advisory

guidelines. The defendant further understands that he has no right to withdraw from this Plea

Agreement ifthe applicable advisory guideline range or his sentence is other than he anticipated.

       The defendant also understands that the United States and the United States Probation

Office shall:

       A.       Advise the Court ofany additional, relevant facts that are presently known
                or may subsequently come to their attention;

       B.       Respond to questions from the Court;

       C.       Correct any inaccuracies in the pre-sentence report;

       D.       Respond to any statements made by him or his counsel to a probation
                officer or to the Court.

       The defendant understands that the United States and the Probation Office may address

the Court with respect to an appropriate sentence to be imposed in this case.

       The defendant acknowledges that any estunate ofthe probable sentence or the probable

sentencing range under the advisory Sentencing Guidelines that he may have received from any

source is only a prediction and not a promise as to the actual sentencing range under the advisory


                                               -8
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 9 of 19




Sentencing Guidelines that the Court will adopt.

       6. Non-Binding Sentencing Stipulations and Agreements.

       Pursuant to Fed. R. Grim. 11(c)(1)(C), the United States and the defendant stipulate and

agree that five years' probation is an appropriate disposition ofthis case.

       The parties intend the above stipulation to be "binding" under Fed. R. Crim. P.

11(c)(1)(C). By using the word binding the parties mean that ifthe Court will not accept the plea
agreement under Fed. R. Crim.P. 11(c)(3)(A),the plea agreement is null and void and the

defendant will be allowed the opportunity to withdraw his guilty pleas.

       The United States and the defendant are free to make recommendations with respect to

the terms ofimprisonment,fines, conditions of probation or supervised release, and any other
penalties, requirements, and conditions ofsentencing as each party may deem lawful and
appropriate, unless such recommendations are inconsistent with the temis ofthis Plea
Agreement.

       7. Acceotance of Responsibility.

       The United States agrees that it will not oppose an appropriate reduction in the

defendant's adjusted offense level, under the advisory Sentencing Guidelines, based upon the
defendant's apparent prompt recognition and affirmative acceptance of personal responsibility

for the offense. The United States, however, may oppose any adjustment for acceptance of

responsibility ifthe defendant:

       A.      Fails to admit a complete factual basis for the plea at the time he is
               sentenced or at any other time;

       B.      Challenges the United States' offer of proof at any time after the plea is
               entered;


                                                 -9-
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 10 of 19




       C.      Denies involvement in the offense;

       D.      Gives conflicting statements about that involvement or is untruthful with
               the Court,the United States or the Probation OfBce;

       E.      Fails to give complete and accurate information about his financial status
               to the Probation Office;

       F.      Obstructs or attempts to obstructjustice, prior to sentencing;

       G.      Has engaged in conduct prior to signing this Plea Agreement which
               reasonably could be viewed as obstruction or an attempt to obstruct
               justice, and has failed to fully disclose such conduct to the United States
               prior to signing this Plea Agreement;

       H.      Fails to appear in court as required;

       I.      After signing this Plea Agreement,engages m additional criminal conduct;
               or



       J.      Attempts to withdraw his guilty plea.

       The defendant understands and agrees that he may not withdraw his guilty plea if, for any

ofthe reasons listed above, the United States does not recommend that he receive a reduction in

his sentence for acceptance of responsibility.

       The defendant also understands and agrees that the Court is not required to reduce the

offense level if it finds that he has not accepted responsibility.

       Ifthe defendant's offense level is sixteen or greater, and he has assisted the United States

in the investigation or prosecution of his own misconduct by timely notifying the United States

of his intention to enter a plea of guilty, thereby permitting the United States to avoid preparing

for trial and permitting the United States and the Court to allocate their resources efficiently, the
United States will move, at or before sentencing, to decrease the defendant's base offense level

by an additional one level pursuant to U.S.S.G. § 3El.l(b).


                                                 -10-
      Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 11 of 19




        8. Waiver ofTrial Rights and Consequences ofPlea.

        The defendant understands that he has the right to be represented by an attorney at every

stage ofthe proceeding and, if necessary,one will be appointed to represent hira. The defendant
also understands that he has the right:

        A.       To plead not guilty or to maintain that plea if it has already been made;

        B.       To be tried by ajury and, at that trial, to the assistance ofcounsel;

        C.       To confront and cross-examine witnesses;

        D.       Not to be compelled to provide testimony that may incriminate him; and

        E.       To compulsory process for the attendance ofwitnesses to testify in his
                 defense.

        Hie defendant understands and agrees that by pleading guilty he waives and gives up the

foregoing rights and that upon the Court's acceptance ofthe his guilty plea, he will not be
entitled to a trial.

        The defendant understands that if he pleads guilty,the Court may ask him questions

about the offense, and if he answers those questions falsely under oath,on the record, and in the
presence ofcoimsel, his answers will be used against him in a prosecution for perjury or making
talse statements.


        9. Acknowledgment of Guilt: Voluntariness ofPlea.

        The defendant understands and acknowledges that he:

        A.       Is entering into this Plea Agreement and is pleading guilty freely and voluntarily because
                 he is guilty;

        B.       Is entering into this Plea Agreement without reliance upon any promise or benefit of any
                 kind except as set forth in this Plea Agreement or revealed to the Court;

        C.       Is entering into this Plea Agreement without threats, force, intimidation, or coercion;

                                                 -11 -
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 12 of 19




       D.      Understands the nature ofthe offense to which he is pleading guilty,
               including the penalties provided by law; and

       E.      Is completely satisfied with the representation and advice received from
               his undersigned attorney.

       10. Scone of Agreement.


       The defendant acknowledges and understands that this Plea Agreement binds only the

undersigned parties and cannot bind any other non-party federal, state or local authority. The
defendant also acknowledges that no representations have been made to him about any civil or

administrative consequences that may result from his guilty plea. The defendant understands
such matters are solely within the discretion ofthe specific non-party government agency

involved. The defendant further acknowledges that this Plea Agreement has been reached

without regard to any civil tax matters that may be pending or which may arise involving the
defendant.

       11. Collateral Consequences.

       The defendant understands that as a consequence of his guilty plea he will be adjudicated

guilty and may thereby be deprived of certain federal benefits and certain rights, such as the right
to vote, to hold public office,to serve on ajury, or to possess firearms.

       The defendant understands that, if he is not a citizen ofthe United States, his guilty plea

to the charged offense will likely result In him being subject to immigration proceedings and
removed from the United States by making him deportable, excludable, or inadmissible. The

defendant also understands that if he is a naturalized citizen, his guilty plea may result in ending

his naturalization, which would likely subject him to immigration proceedings and possible

removal from the United States. The defendant understands that the immigration consequences

                                               -12-
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 13 of 19




ofthis plea will be imposed in a separate proceeding before the immigration authorities. The
defendant wants and agrees to plead guilty to the charged offense regardless of any immigration
consequences ofthis plea, even ifthis plea will cause his removal from the United States. The
defendant understands that he is bound by his guilly plea regardless ofany iramigi-ation

consequences ofthe plea. Accordingly, the defendant waives any and all challenges to his guilty
plea and to his sentence based on any immigration consequences, and agrees not to seek to
withdraw his guilty plea, or to file a direct appeal or any kind ofcollateral attack challenging his
guilty plea, conviction, or sentence, based on any immigration consequences of his guilty plea.
       12. Satisfaction ofFederal Criminal Liability: Breach.

       The defendant's guilty plea, if accepted by the Court, will satisfy his federal criminal

liability in the District ofNew Hampshire arising from his participation in the conduct that forms
the basis ofthe Information in this case. The defendant understands that if, before sentencing, he

violates any term or condition ofthis Plea Agreement,engages in any criminal activity, or fails
to appear for sentencing,the United States may consider such conduct to be a breach ofthe Plea
Agreement and may withdraw therefrom.

       13.     Forfeiture

       The defendant further agrees:

       That he will immediately and voluntarily forfeit to the United States his interest, if any, in

any and all assets subject to forfeiture pursuant to 18 U.S.C. § 545,982(a)(2)(B), and 21 U.S.C.
§ 334, as a result of his guilty plea, including, but not limited to:(A)$19,120.14 in funds from
Citibank Account #145922044;(B)$2,452.00 in U.S. Currency;(C)$11,090.49 in funds from

Fidelity Bank Account #140907596;(D)$67,028.22 in funds from Renasant Account #1102435;

                                               -13-
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 14 of 19




(E)$21,527.31 in funds from Renasant Account #3417190;(F)$108,956.13 in fiinds from TD
Ameritrade Account #756471881; and(G)$19,545.11 in funds from TD Ameritrade Bank

Account#862721260;

        That the Court may enter an order offorfeiture with respect to(A)through(G)at or

before sentencing;

        That he will not contest any civil judicial forfeiture of(H)Land and Buildings located at

1576 Creek Bend Lane,Lawrenceville, GA and(I) Land and Buildings located at 2775 Old

Shackleford Road, Suite 1001, Lawrenceville, GA.See Complaint, United States v. 333Summit

Ridge Road, Lawrenceville, GA, Civil No.20-721-LM,ECF No. 1; and

        That he will pay the amount of$200,000.00 as a substitute res for(J)Land and Buildings

located at 333 Summit Ridge Drive, Lawrenceville, GA.Payment ofthe substitute res shall be

due on or before the date ofsentencing. Upon payment ofthe substitute res, the United States

will dismiss(J)from the civil forfeiture action, and file an assented-to motion for an order of
forfeiture for the substitute res of$200,000.00,(H), and (I).

        The defendant agrees that he will not submit a claim and/or petition for remission for

assets(A)though (J)on behalf of himselfor any other person, and agrees to withdraw any claims

and/or petitions for remission for assets(A)though(J)that have been filed on behalf of himself
or any other person; to take whatever steps are necessary to pass to the United States clear title to
(H)and (I), above, including, without limitation, to assent to a motion for a final order of
forfeiture and to complete any other legal documents required for the transfer oftitle to the

United States; not to assist any other individual in any effort to falsely contest the forfeiture of

the forfeitable properties(A)through (J); to prevent the transfer, sale, destruction,or loss ofthe

                                                -14-
        Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 15 of 19




forfeitable properties to the extent defendant has the ability to do so.

         None ofthe forfeitures set forth in this section shall be deemed to satisfy or offset any

fine, restitution, cost of imprisonment, or other penalty imposed upon the defendant, nor shall the
forfeitures be used to offset the defendant's tax liability or any other debt owed by the defendant

to the United States.

         With respect to any criminal forfeiture ordered as a result ofthis plea agreement,

defendant waives:(A)the requirements of Federal Rules ofCriminal Procedure 32.2 and 43(a)
regarding notice ofthe forfeiture in the charging instrument, announcements ofthe forfeiture at
sentencing, and incorporation ofthe forfeiture in the judgment;(B)all constitutional and
statutory challenges to the forfeiture (including by direct appeal, habeas corpus or any other
means); and(C)all constitutional, legal, and equitable defenses to the forfeiture of assets(A)
through(G), described in paragraph 1, in any proceeding on any grounds including, without
limitation, that the forfeiture constitutes an excessive fine or punishment. Defendant
acknowledges that the forfeiture ofassets(A)through(G)is part ofthe sentence that may be
imposed in this case and waives any failure by the Court to advise defendant ofthis, pursuant to
Federal Rule ofCriminal Procedure 1 l(b)(l)(J), at the time the Court accepts defendant's guilty
plea.

         Defendant understands that the forfeiture of assets is part ofthe sentence that may be

imposed in this case.

         Defendant agrees to waive and release any and all claims he may have to any property

seized by the United States, or any state or local law enforcement agency and turned over to the
United States, during the investigation and prosecution ofthis case, whether forfeited or not.

                                                 -15-
        Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 16 of 19




The defendant agrees to hold the United States, its agents, and employees, and any state or local

law enforcement agency participating in the investigation and prosecution ofthis case, harmless

from any claims whatsoever in connection with the seizure and forfeiture, as well as the seizure,
detention and return of any property in connection with the investigation and prosecution ofthis
case.



         The defendant acknowledges that the properties to be forfeited under this section are

subject to forfeiture as property constituting, or derived from,proceeds obtained, directly or
indirectly, as a result of the said violations.

         14. Waivers.

         A. Appeal.

         The defendant understands that he has the right to challenge his guilty plea and/or

sentence on direct appeal. By entering into this Plea Agreement the defendant knowingly and
voluntarily waives his right to challenge on direct appeal:

         1.     His guilty plea and any other aspect of his conviction, including, but not
                limited to, adverse rulings on pretrial suppression motion(s) or any other
                adverse disposition of pretrial motions or issues, or claims challenging the
                constitutionality ofthe statute of conviction; and

         2.     The sentence imposed by the Court if it is consistent with or lower than
                the stipulations specified in Section 6 ofthis agreement.

         The defendant's waiver of his rights does not operate to waive an appeal based upon new

legal principles enunciated in Supreme Court or First Circuit case law after the date ofthis Plea
Agreement that have retroactive effect; or on the ground ofineffective assistance of counsel.
         B. Collateral Review

         The defendant understands that he may have the right to challenge his guilty plea and/or


                                                  -16-
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 17 of 19




sentence on collateral review, e.g., a motion pursuant to 28 U.S.C. §§ 2241 or 2255. By

entering into tills Plea Agreement,the defendant knowingly and voluntarily waives his right to

collaterally challenge:

       1.      His guilty plea, except as provided below,and any other aspect of his
               conviction, including, but not limited to, adverse rulings on pretrial
               suppression motion(s) or any other adverse disposition of pretrial motions
               or issues, or claims challenging the constitutionality ofthe statute of
               conviction; and

       2.      The sentence imposed by the Court if it is consistent with or lower than
               the stipulations specified in Section 6 ofthis agreement.

       The defendant's waiver of his right to collateral review does not operate to waive a

collateral challenge to his guilty plea on the ground that it was involuntary or unknowing,or on

the ground ofineffective assistance of counsel. The defendant's waiver of his right to collateral

review also does not operate to waive a collateral challenge based on new legal principles

enunciated by in Supreme Court or First Circuit case law decided after the date ofthis Plea

Agreement that have retroactive effect.

       C. Freedom ofInformation and Privacy Acts

       The defendant hereby waives all rights, whether asserted directly or through a

representative,to request or receive from any department or agency ofthe United States any

records pertaining to the investigation or prosecution ofthe case(s) underlying this Plea

Agreement, including without limitation any records that may be sought under the Freedom of

Information Act,5 U.S.C. §552, or the Privacy Act of 1974,5 U.S.C. §522a.

       D. Appeal by the Government

       Nothing in this Plea Agreement shall operate to waive the rights or obligations ofthe

Government pursuant 18 U.S.C. § 3742(b) to pmsue an appeal as authorized by law.

                                              -17-
     Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 18 of 19




       15. No Other Promises.

       The defendant acknowledges that no other promises, agreements, or conditions have been

entered into other than those set forth in this Plea Agreement or revealed to the Court, and none

will be entered into unless set forth in writing, signed by all parties, and submitted to the Court.

       16. Final Binding Agreement.

       None ofthe terms ofthis Plea Agreement shall be binding on the United States until this

Plea Agreement is signed by the defendant and the defendant's attorney and until it is signed by

the United States Attorney for the District ofNew Hampshire, or an Assistant United States

Attomey.

       17.   Agreement Provisions Not Severable.

       The United States and the defendant understand and agree that if any provision ofthis

Plea Agreement is deemed invalid or unenforceable, then the entire Plea Agreement is null and

void and no part ofit may be enforced.


                                                          SCOTT W.MURRAY
                                                          United States Attomey


Date:/i^/^'                                           By;
                                                            3eOTgi^ia]L MjJcDonald
                                                             gsistant United States Attomey
                                                          MA Bar No.685375
                                                          53 Pleasant St., 4th Floor
                                                          Concord,NH 03301
                                                          Georgiana.rnacdonald@usdoj.gov


                                                          Sajca^Q^^kins
                                                          Sp^efel Assistant U.S Attomey



                                               -18-
Case 1:20-cr-00158-PB Document 2 Filed 12/21/20 Page 19 of 19




                                                                      IS^pagePlea




                      mm                              Oe0tgo^|^r,,j[>eKttdant/
       I ha>^jcead and explained thiia IS^page Elea ^gteemfsiiit tp thp dpfpjidapt, apdihp^has.


oas!            ll I ?y)'
                                                      Attomewibni^

»«to:; 1.7-In
                                                      AtpWpyfdf




                                                19-
